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10   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
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12                            UNITED STATES DISTRICT COURT

13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

14   UNITED STATES OF AMERICA,              No. 2:21-cr-00127-MCS

15               Plaintiff,                 STIPULATION REGARDING REQUEST FOR
                                            (1) CONTINUANCE OF TRIAL DATE AND
16                    v.                    (2) FINDINGS OF EXCLUDABLE TIME
                                            PURSUANT TO THE SPEEDY TRIAL ACT
17   DOUGLAS CHRISMAS,
                                            CURRENT TRIAL DATE:     10/24/23
18               Defendant.                 PROPOSED TRIAL DATE:    02/13/24
                                            PROPOSED PRETRIAL DATE: 02/05/24
19
20        Plaintiff United States of America, by and through its counsel

21   of record, the United States Attorney for the Central District of

22   California and Assistant United States Attorneys Valerie L.

23   Makarewicz and David W. Williams, and defendant Douglas Chrismas

24   (“defendant”), both individually and by and through his counsel of

25   record, Adam Braun, hereby stipulate as follows:

26        1.      The Indictment in this case was made public on July 27,

27   2021.     Defendant first appeared before a judicial officer of the

28   court in which the charges in this case were pending on July 27,
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 1   2021.        The Speedy Trial Act, 18 U.S.C. § 3161, originally required

 2   that the trial commence on or before October 5, 2021.

 3           2.      On July 27, 2021, the Court set a trial date of September

 4   21, 2021, and a status conference date of September 13, 2021.

 5        3.         Defendant is released on bond pending trial. The parties

 6   estimate that the trial in this matter will last approximately three

 7   days.

 8        4.         The parties applied for, and were granted, the

 9   continuances of the trial. CR 23, 34, 36, 39, 41.

10        5.         The Court held a status conference in this matter on

11   October 16, 2023.       At that conference, at the request of defendant,

12   the Court continued the trial date from October 24, 2023, to

13   February 13, 2024.

14        6.         Defendant requested the continuance based upon the

15   following facts, which the parties believe demonstrate good cause to

16   support the appropriate findings under the Speedy Trial Act:

17                  a.    Defendant is charged with violations of 18 U.S.C. §

18   153, embezzlement from a bankruptcy estate.

19                  b.    As described in the Declaration of Adam Braun filed

20   on October 12, 2023 (see CR 65), incorporated here by reference, the

21   government produced several thousand pages of discovery in the

22   leadup to the parties’ October 24 trial date.

23                  c.    Additionally, defense counsel is scheduled to begin

24   an approximately 3-week shareholder litigation trial in state court

25   on November 27, 2023, with expert depositions on both sides

26   scheduled in the month of November.

27                  d.    In light of the foregoing, counsel for defendant

28   represents that he needs additional time to review the

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 1   approximately 6,000 pages of discovery recently produced. Defense

 2   counsel represents that failure to grant the continuance would deny

 3   him reasonable time necessary for effective preparation, taking into

 4   account the exercise of due diligence.        Defendant believes that

 5   failure to grant the continuance will deny him adequate

 6   representation.

 7        7.     Based on all of the foregoing, for purposes of computing

 8   the date under the Speedy Trial Act by which defendant’s trial must

 9   commence, the parties agree that the time period of October 24,

10   2023, to February 13, 2024, inclusive, should be excluded pursuant

11   to 18 U.S.C. § 3161 because the delay results from a continuance

12   granted by the Court at defendant’s request, on the basis of the

13   Court’s findings that: the ends of justice served by the continuance

14   outweigh the best interest of the public and defendant in a speedy

15   trial; failure to grant the continuance would be likely to make a

16   continuation of the proceeding impossible, or result in a

17   miscarriage of justice; and failure to grant the continuance would

18   unreasonably deny defendant continuity of counsel and would deny

19   defense counsel the reasonable time necessary for effective

20   preparation, taking into account the exercise of due diligence.

21        8.     Nothing in this stipulation shall preclude a finding that

22   other provisions of the Speedy Trial Act dictate that additional

23   time periods be excluded from the period within which trial must

24   commence.   Moreover, the same provisions and/or other provisions of

25   the Speedy Trial Act may in the future authorize the exclusion of

26   additional time periods from the period within which trial must

27   commence.

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 1        9.    The parties further stipulate that a final pretrial

 2   conference be set on February 5, 2024, at 3:00 p.m.

 3        IT IS SO STIPULATED.

 4   Dated:Oct. 23, 2023                 Respectfully submitted,

 5                                       E. MARTIN ESTRADA
                                         United States Attorney
 6
                                         MACK E. JENKINS
 7                                       Assistant United States Attorney
                                         Chief, Criminal Division
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                                         VALERIE L. MAKAREWICZ
10                                       DAVID W. WILLIAMS
                                         Assistant United States Attorneys
11
                                         Attorneys for Plaintiff
12                                       UNITED STATES OF AMERICA

13   Dated: October 20, 2023
                                         /S/ Adam H. Braun
14
                                         ADAM BRAUN
15                                       Attorney for Defendant Douglas
                                         Chrismas
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17

18                            DECLARATION OF ADAM BRAUN

19        I am Defendant’s attorney.       I have carefully discussed every

20   part of this stipulation and the continuance of the trial date with

21   my client.   I have fully informed my client of his Speedy Trial

22   rights.   To my knowledge, my client understands those rights and

23   agrees to waive them.     I believe that my client’s decision to give

24   up the right to be brought to trial earlier than February 13, 2024

25   is an informed and voluntary one.

26        /s/ Adam H. Braun                              October 20, 2023
27   ADAM BRAUN                                   Date
     Attorney for Defendant
28   Douglas Chrismas

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